        Case 2:19-cv-00226-CMR Document 30 Filed 02/10/20 Page 1 of 18




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                   :
 SCOTT H. KORN et al.,                             :
                                                   :
                       Plaintiffs,                 :
                                                   :
        v.                                         :       Civil Action No. 2:19-cv-00226-CMR
                                                   :
 CALIBER HOME LOANS, INC. et al.,                  :
                                                   :
                       Defendants.                 :
                                                   :

                     NOTICE OF SUBPOENA TO JOSEPH KRAUSE

       PLEASE TAKE NOTICE that, pursuant to Federal Rules of Civil Procedure 30 and 45,

Plaintiffs Scott H. Korn and Arlene A. Korn, by and through their attorneys, Mitts Law, LLC,

intend to serve a subpoena, in the form attached hereto, on Joseph Krause on February 10, 2020,

or as soon thereafter as service may be effectuated. The subpoena calls for the deposition of

Joseph Krause beginning at 10:00 a.m. on March 3, 2020. The deposition will be taken upon

oral examination before a notary public or other person authorized by law to administer oaths.

The deposition shall be recorded by stenographic and/or videographic means at TransPerfect,

1717 Main Street, #5805, Dallas, TX 75201. The deposition will continue from day to day until

complete. The deponent shall bring with him the documents listed at Exhibit A attached hereto.

                                                       MITTS LAW, LLC
Dated: February 10, 2020                               /s/ Maurice R. Mitts
                                                       Maurice R. Mitts, Esquire
                                                       Michael J. Duffy, Esquire
                                                       1822 Spruce Street
                                                       Philadelphia, PA 19103
                                                       (215) 866-0112 (telephone)
                                                       (215) 866-0113 (facsimile)
                                                       Attorneys for Plaintiffs
                      Case 2:19-cv-00226-CMR Document 30 Filed 02/10/20 Page 2 of 18
CQ!99C!!)Tgx/!13025*!Uwdrqgpc!vq!Vguvkh{!cv!c!Fgrqukvkqp!kp!c!Ekxkn!Cevkqp!


                                        WPKVGF!UVCVGU!FKUVTKEV!EQWTV
                                                                              hqt!vjg
                                                     !!!!!!Gcuvgtp!Fkuvtkev!qh!Rgppu{nxcpkc
                                                         aaaaaaaaaa!Fkuvtkev!qh!aaaaaaaaaa

                       Scott H. Korn, et al.                                     *
                                Plaintiff                                        *
                                   x/                                            *      Ekxkn!Cevkqp!Pq/     2:19-cv-00226-CMR
               Caliber Home Loans, Inc. et al.                                   *
                                                                                 *
                              Defendant                                          *

                              SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

 Vq<                        Joseph Krause, Caliber Home Loans, Inc., 1525 S. Belt Line Rd. Coppell, TX 75019

                                                        (Name of person to whom this subpoena is directed)

     " Testimony:!!YOU ARE COMMANDED!vq!crrgct!cv!vjg!vkog-!fcvg-!cpf!rnceg!ugv!hqtvj!dgnqy!vq!vguvkh{!cv!c!
fgrqukvkqp!vq!dg!vcmgp!kp!vjku!ekxkn!cevkqp/!!Kh!{qw!ctg!cp!qticpk|cvkqp-!{qw!owuv!fgukipcvg!qpg!qt!oqtg!qhhkegtu-!fktgevqtu-
qt!ocpcikpi!cigpvu-!qt!fgukipcvg!qvjgt!rgtuqpu!yjq!eqpugpv!vq!vguvkh{!qp!{qwt!dgjcnh!cdqwv!vjg!hqnnqykpi!ocvvgtu-!qt
vjqug!ugv!hqtvj!kp!cp!cvvcejogpv<


 Rnceg<                                                                                  Fcvg!cpf!Vkog<
           TransPerfect, 1717 Main St #5805, Dallas, TX 75201                                              03/03/2020 10:00 am


          Vjg!fgrqukvkqp!yknn!dg!tgeqtfgf!d{!vjku!ogvjqf<                       Videographic and/or Stenographic Means

       " Production:!![qw-!qt!{qwt!tgrtgugpvcvkxgu-!owuv!cnuq!dtkpi!ykvj!{qw!vq!vjg!fgrqukvkqp!vjg!hqnnqykpi!fqewogpvu-!
         gngevtqpkecnn{!uvqtgf!kphqtocvkqp-!qt!qdlgevu-!cpf!owuv!rgtokv!kpurgevkqp-!eqr{kpi-!vguvkpi-!qt!ucornkpi!qh!vjg
         ocvgtkcn< Please see Exhibit A to the attached Notice of Subpoena.




       Vjg!hqnnqykpi!rtqxkukqpu!qh!Hgf/!T/!Ekx/!R/!56!ctg!cvvcejgf!!Twng!56)e*-!tgncvkpi!vq!vjg!rnceg!qh!eqornkcpeg=
Twng!56)f*-!tgncvkpi!vq!{qwt!rtqvgevkqp!cu!c!rgtuqp!uwdlgev!vq!c!uwdrqgpc=!cpf!Twng!56)g*!cpf!)i*-!tgncvkpi!vq!{qwt!fwv{!vq
tgurqpf!vq!vjku!uwdrqgpc!cpf!vjg!rqvgpvkcn!eqpugswgpegu!qh!pqv!fqkpi!uq/

Fcvg<        02/10/2020
                                   CLERK OF COURT
                                                                                           QT
                                                                                                               /s/ Maurice R. Mitts
                                            Signature of Clerk or Deputy Clerk                                  Attorney’s signature

Vjg!pcog-!cfftguu-!g.ockn!cfftguu-!cpf!vgngrjqpg!pwodgt!qh!vjg!cvvqtpg{!tgrtgugpvkpi!(name of party)
Plaintiffs Scott and Arlene Korn                                        -!yjq!kuuwgu!qt!tgswguvu!vjku!uwdrqgpc-!ctg<
Mitts Law, LLC, Maurice R. Mitts, 1822 Spruce St., Phila. PA 19103. Ph: 215-866-0112, Email: mmitts@mittslaw.com

                                Notice to the person who issues or requests this subpoena
Kh!vjku!uwdrqgpc!eqoocpfu!vjg!rtqfwevkqp!qh!fqewogpvu-!gngevtqpkecnn{!uvqtgf!kphqtocvkqp-!qt!vcpikdng!vjkpiu!dghqtg
vtkcn-!c!pqvkeg!cpf!c!eqr{!qh!vjg!uwdrqgpc!owuv!dg!ugtxgf!qp!gcej!rctv{!kp!vjku!ecug!dghqtg!kv!ku!ugtxgf!qp!vjg!rgtuqp!vq
yjqo!kv!ku!fktgevgf/!Hgf/!T/!Ekx/!R/!56)c*)5*/
                      Case 2:19-cv-00226-CMR Document 30 Filed 02/10/20 Page 3 of 18
CQ!99C!!)Tgx/!!13025*!Uwdrqgpc!vq!Vguvkh{!cv!c!Fgrqukvkqp!kp!c!Ekxkn!Cevkqp!)Rcig!3*

Ekxkn!Cevkqp!Pq/ 2:19-cv-00226-CMR

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          K!tgegkxgf!vjku!uwdrqgpc!hqt!(name of individual and title, if any)
qp!(date)                        /

           " K!ugtxgf!vjg!uwdrqgpc!d{!fgnkxgtkpi!c!eqr{!vq!vjg!pcogf!kpfkxkfwcn!cu!hqnnqyu<


                                                                                       qp!(date)                     =!qt

           " K!tgvwtpgf!vjg!uwdrqgpc!wpgzgewvgf!dgecwug<
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           vgpfgtgf!vq!vjg!ykvpguu!vjg!hggu!hqt!qpg!fc{u!cvvgpfcpeg-!cpf!vjg!okngcig!cnnqygf!d{!ncy-!kp!vjg!coqwpv!qh
           %                                        /

O{!hggu!ctg!%                                       hqt!vtcxgn!cpf!%                       hqt!ugtxkegu-!hqt!c!vqvcn!qh!%   0.00   /


           K!fgenctg!wpfgt!rgpcnv{!qh!rgtlwt{!vjcv!vjku!kphqtocvkqp!ku!vtwg/


Fcvg<
                                                                                              Server’s signature



                                                                                            Printed name and title




                                                                                               Server’s address

Cffkvkqpcn!kphqtocvkqp!tgictfkpi!cvvgorvgf!ugtxkeg-!gve/<
                       Case 2:19-cv-00226-CMR Document 30 Filed 02/10/20 Page 4 of 18

CQ!99C!!)Tgx/!!13025*!Uwdrqgpc!vq!Vguvkh{!cv!c!Fgrqukvkqp!kp!c!Ekxkn!Cevkqp!)Rcig!4*

                              Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                     (i)!fkuenqukpi!c!vtcfg!ugetgv!qt!qvjgt!eqphkfgpvkcn!tgugctej-!fgxgnqrogpv-
                                                                                    qt!eqoogtekcn!kphqtocvkqp=!qt
  (1) For a Trial, Hearing, or Deposition. C!uwdrqgpc!oc{!eqoocpf!c                 !!!!!!!!(ii)!fkuenqukpi!cp!wptgvckpgf!gzrgtvu!qrkpkqp!qt!kphqtocvkqp!vjcv!fqgu
rgtuqp!vq!cvvgpf!c!vtkcn-!jgctkpi-!qt!fgrqukvkqp!qpn{!cu!hqnnqyu<                   pqv!fguetkdg!urgekhke!qeewttgpegu!kp!fkurwvg!cpf!tguwnvu!htqo!vjg!gzrgtvu
   (A)!ykvjkp!211!okngu!qh!yjgtg!vjg!rgtuqp!tgukfgu-!ku!gornq{gf-!qt                uvwf{!vjcv!ycu!pqv!tgswguvgf!d{!c!rctv{/
tgiwnctn{!vtcpucevu!dwukpguu!kp!rgtuqp=!qt                                          !!!!(C)!Specifying Conditions as an Alternative. Kp!vjg!ektewouvcpegu
   (B)!ykvjkp!vjg!uvcvg!yjgtg!vjg!rgtuqp!tgukfgu-!ku!gornq{gf-!qt!tgiwnctn{         fguetkdgf!kp!Twng!56)f*)4*)D*-!vjg!eqwtv!oc{-!kpuvgcf!qh!swcujkpi!qt
vtcpucevu!dwukpguu!kp!rgtuqp-!kh!vjg!rgtuqp                                         oqfkh{kpi!c!uwdrqgpc-!qtfgt!crrgctcpeg!qt!rtqfwevkqp!wpfgt!urgekhkgf
      (i)!ku!c!rctv{!qt!c!rctv{u!qhhkegt=!qt                                       eqpfkvkqpu!kh!vjg!ugtxkpi!rctv{<
      (ii)!ku!eqoocpfgf!vq!cvvgpf!c!vtkcn!cpf!yqwnf!pqv!kpewt!uwduvcpvkcn           !!!!!!!!(i)!ujqyu!c!uwduvcpvkcn!pggf!hqt!vjg!vguvkoqp{!qt!ocvgtkcn!vjcv!ecppqv!dg
gzrgpug/                                                                            qvjgtykug!ogv!ykvjqwv!wpfwg!jctfujkr=!cpf
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 (2) For Other Discovery. C!uwdrqgpc!oc{!eqoocpf<
   (A)!rtqfwevkqp!qh!fqewogpvu-!gngevtqpkecnn{!uvqtgf!kphqtocvkqp-!qt               (e) Duties in Responding to a Subpoena.
vcpikdng!vjkpiu!cv!c!rnceg!ykvjkp!211!okngu!qh!yjgtg!vjg!rgtuqp!tgukfgu-!ku
gornq{gf-!qt!tgiwnctn{!vtcpucevu!dwukpguu!kp!rgtuqp=!cpf                              (1) Producing Documents or Electronically Stored Information. Vjgug
   (B)!kpurgevkqp!qh!rtgokugu!cv!vjg!rtgokugu!vq!dg!kpurgevgf/                      rtqegfwtgu!crrn{!vq!rtqfwekpi!fqewogpvu!qt!gngevtqpkecnn{!uvqtgf
                                                                                    kphqtocvkqp<
(d) Protecting a Person Subject to a Subpoena; Enforcement.                         !!!!(A)!Documents. C!rgtuqp!tgurqpfkpi!vq!c!uwdrqgpc!vq!rtqfweg!fqewogpvu
                                                                                    owuv!rtqfweg!vjgo!cu!vjg{!ctg!mgrv!kp!vjg!qtfkpct{!eqwtug!qh!dwukpguu!qt
 (1) Avoiding Undue Burden or Expense; Sanctions. C!rctv{!qt!cvvqtpg{               owuv!qticpk|g!cpf!ncdgn!vjgo!vq!eqttgurqpf!vq!vjg!ecvgiqtkgu!kp!vjg!fgocpf/
tgurqpukdng!hqt!kuuwkpi!cpf!ugtxkpi!c!uwdrqgpc!owuv!vcmg!tgcuqpcdng!uvgru           !!!!(B)!Form for Producing Electronically Stored Information Not Specified.
vq!cxqkf!korqukpi!wpfwg!dwtfgp!qt!gzrgpug!qp!c!rgtuqp!uwdlgev!vq!vjg                Kh!c!uwdrqgpc!fqgu!pqv!urgekh{!c!hqto!hqt!rtqfwekpi!gngevtqpkecnn{!uvqtgf
uwdrqgpc/!Vjg!eqwtv!hqt!vjg!fkuvtkev!yjgtg!eqornkcpeg!ku!tgswktgf!owuv              kphqtocvkqp-!vjg!rgtuqp!tgurqpfkpi!owuv!rtqfweg!kv!kp!c!hqto!qt!hqtou!kp
gphqteg!vjku!fwv{!cpf!korqug!cp!crrtqrtkcvg!ucpevkqpyjkej!oc{!kpenwfg              yjkej!kv!ku!qtfkpctkn{!ockpvckpgf!qt!kp!c!tgcuqpcdn{!wucdng!hqto!qt!hqtou/
nquv!gctpkpiu!cpf!tgcuqpcdng!cvvqtpg{u!hgguqp!c!rctv{!qt!cvvqtpg{!yjq             !!!!(C)!Electronically Stored Information Produced in Only One Form. Vjg
hcknu!vq!eqorn{/                                                                    rgtuqp!tgurqpfkpi!pggf!pqv!rtqfweg!vjg!ucog!gngevtqpkecnn{!uvqtgf
                                                                                    kphqtocvkqp!kp!oqtg!vjcp!qpg!hqto/
  (2) Command to Produce Materials or Permit Inspection.                            !!!!(D)!Inaccessible Electronically Stored Information. Vjg!rgtuqp
!!!!(A)!Appearance Not Required. C!rgtuqp!eqoocpfgf!vq!rtqfweg                      tgurqpfkpi!pggf!pqv!rtqxkfg!fkueqxgt{!qh!gngevtqpkecnn{!uvqtgf!kphqtocvkqp
fqewogpvu-!gngevtqpkecnn{!uvqtgf!kphqtocvkqp-!qt!vcpikdng!vjkpiu-!qt!vq             htqo!uqwtegu!vjcv!vjg!rgtuqp!kfgpvkhkgu!cu!pqv!tgcuqpcdn{!ceeguukdng!dgecwug
rgtokv!vjg!kpurgevkqp!qh!rtgokugu-!pggf!pqv!crrgct!kp!rgtuqp!cv!vjg!rnceg!qh        qh!wpfwg!dwtfgp!qt!equv/!Qp!oqvkqp!vq!eqorgn!fkueqxgt{!qt!hqt!c!rtqvgevkxg
rtqfwevkqp!qt!kpurgevkqp!wpnguu!cnuq!eqoocpfgf!vq!crrgct!hqt!c!fgrqukvkqp-          qtfgt-!vjg!rgtuqp!tgurqpfkpi!owuv!ujqy!vjcv!vjg!kphqtocvkqp!ku!pqv
jgctkpi-!qt!vtkcn/                                                                  tgcuqpcdn{!ceeguukdng!dgecwug!qh!wpfwg!dwtfgp!qt!equv/!Kh!vjcv!ujqykpi!ku
!!!!(B)!Objections. C!rgtuqp!eqoocpfgf!vq!rtqfweg!fqewogpvu!qt!vcpikdng             ocfg-!vjg!eqwtv!oc{!pqpgvjgnguu!qtfgt!fkueqxgt{!htqo!uwej!uqwtegu!kh!vjg
vjkpiu!qt!vq!rgtokv!kpurgevkqp!oc{!ugtxg!qp!vjg!rctv{!qt!cvvqtpg{!fgukipcvgf        tgswguvkpi!rctv{!ujqyu!iqqf!ecwug-!eqpukfgtkpi!vjg!nkokvcvkqpu!qh!Twng
kp!vjg!uwdrqgpc!c!ytkvvgp!qdlgevkqp!vq!kpurgevkpi-!eqr{kpi-!vguvkpi-!qt             37)d*)3*)E*/!Vjg!eqwtv!oc{!urgekh{!eqpfkvkqpu!hqt!vjg!fkueqxgt{/
ucornkpi!cp{!qt!cnn!qh!vjg!ocvgtkcnu!qt!vq!kpurgevkpi!vjg!rtgokuguqt!vq
rtqfwekpi!gngevtqpkecnn{!uvqtgf!kphqtocvkqp!kp!vjg!hqto!qt!hqtou!tgswguvgf/         (2) Claiming Privilege or Protection.
Vjg!qdlgevkqp!owuv!dg!ugtxgf!dghqtg!vjg!gctnkgt!qh!vjg!vkog!urgekhkgf!hqt           !!(A)!Information Withheld. C!rgtuqp!ykvjjqnfkpi!uwdrqgpcgf!kphqtocvkqp
eqornkcpeg!qt!25!fc{u!chvgt!vjg!uwdrqgpc!ku!ugtxgf/!Kh!cp!qdlgevkqp!ku!ocfg-        wpfgt!c!encko!vjcv!kv!ku!rtkxkngigf!qt!uwdlgev!vq!rtqvgevkqp!cu!vtkcn.rtgrctcvkqp
vjg!hqnnqykpi!twngu!crrn{<                                                          ocvgtkcn!owuv<
!!!!!!!!(i)!Cv!cp{!vkog-!qp!pqvkeg!vq!vjg!eqoocpfgf!rgtuqp-!vjg!ugtxkpi!rctv{       !!!!!!(i)!gzrtguun{!ocmg!vjg!encko=!cpf
oc{!oqxg!vjg!eqwtv!hqt!vjg!fkuvtkev!yjgtg!eqornkcpeg!ku!tgswktgf!hqt!cp             !!!!!!(ii)!fguetkdg!vjg!pcvwtg!qh!vjg!ykvjjgnf!fqewogpvu-!eqoowpkecvkqpu-!qt
qtfgt!eqorgnnkpi!rtqfwevkqp!qt!kpurgevkqp/                                          vcpikdng!vjkpiu!kp!c!ocppgt!vjcv-!ykvjqwv!tgxgcnkpi!kphqtocvkqp!kvugnh
!!!!!! (ii)!Vjgug!cevu!oc{!dg!tgswktgf!qpn{!cu!fktgevgf!kp!vjg!qtfgt-!cpf!vjg       rtkxkngigf!qt!rtqvgevgf-!yknn!gpcdng!vjg!rctvkgu!vq!cuuguu!vjg!encko/
qtfgt!owuv!rtqvgev!c!rgtuqp!yjq!ku!pgkvjgt!c!rctv{!pqt!c!rctv{u!qhhkegt!htqo       !!(B)!Information Produced. Kh!kphqtocvkqp!rtqfwegf!kp!tgurqpug!vq!c
ukipkhkecpv!gzrgpug!tguwnvkpi!htqo!eqornkcpeg/                                      uwdrqgpc!ku!uwdlgev!vq!c!encko!qh!rtkxkngig!qt!qh!rtqvgevkqp!cu
                                                                                    vtkcn.rtgrctcvkqp!ocvgtkcn-!vjg!rgtuqp!ocmkpi!vjg!encko!oc{!pqvkh{!cp{!rctv{
 (3) Quashing or Modifying a Subpoena.                                              vjcv!tgegkxgf!vjg!kphqtocvkqp!qh!vjg!encko!cpf!vjg!dcuku!hqt!kv/!Chvgt!dgkpi
                                                                                    pqvkhkgf-!c!rctv{!owuv!rtqorvn{!tgvwtp-!ugswguvgt-!qt!fguvtq{!vjg!urgekhkgf
!!!!(A)!When Required. Qp!vkogn{!oqvkqp-!vjg!eqwtv!hqt!vjg!fkuvtkev!yjgtg           kphqtocvkqp!cpf!cp{!eqrkgu!kv!jcu=!owuv!pqv!wug!qt!fkuenqug!vjg!kphqtocvkqp
eqornkcpeg!ku!tgswktgf!owuv!swcuj!qt!oqfkh{!c!uwdrqgpc!vjcv<                        wpvkn!vjg!encko!ku!tguqnxgf=!owuv!vcmg!tgcuqpcdng!uvgru!vq!tgvtkgxg!vjg
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        (i)!hcknu!vq!cnnqy!c!tgcuqpcdng!vkog!vq!eqorn{=                             rtgugpv!vjg!kphqtocvkqp!wpfgt!ugcn!vq!vjg!eqwtv!hqt!vjg!fkuvtkev!yjgtg
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urgekhkgf!kp!Twng!56)e*=                                                            rtqfwegf!vjg!kphqtocvkqp!owuv!rtgugtxg!vjg!kphqtocvkqp!wpvkn!vjg!encko!ku
!!!!!!!!(iii)!tgswktgu!fkuenquwtg!qh!rtkxkngigf!qt!qvjgt!rtqvgevgf!ocvvgt-!kh!pq    tguqnxgf/
gzegrvkqp!qt!yckxgt!crrnkgu=!qt
!!!!!!!!(iv)!uwdlgevu!c!rgtuqp!vq!wpfwg!dwtfgp/                                     (g) Contempt.
!!!(B)!When Permitted. Vq!rtqvgev!c!rgtuqp!uwdlgev!vq!qt!chhgevgf!d{!c              Vjg!eqwtv!hqt!vjg!fkuvtkev!yjgtg!eqornkcpeg!ku!tgswktgfcpf!cnuq-!chvgt!c
uwdrqgpc-!vjg!eqwtv!hqt!vjg!fkuvtkev!yjgtg!eqornkcpeg!ku!tgswktgf!oc{-!qp           oqvkqp!ku!vtcpuhgttgf-!vjg!kuuwkpi!eqwtvoc{!jqnf!kp!eqpvgorv!c!rgtuqp
oqvkqp-!swcuj!qt!oqfkh{!vjg!uwdrqgpc!kh!kv!tgswktgu<                                yjq-!jcxkpi!dggp!ugtxgf-!hcknu!ykvjqwv!cfgswcvg!gzewug!vq!qdg{!vjg
                                                                                    uwdrqgpc!qt!cp!qtfgt!tgncvgf!vq!kv/


                                          Hqt!ceeguu!vq!uwdrqgpc!ocvgtkcnu-!ugg!Hgf/!T/!Ekx/!R/!56)c*!Eqookvvgg!Pqvg!)3124*/
         Case 2:19-cv-00226-CMR Document 30 Filed 02/10/20 Page 5 of 18




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                    :
 SCOTT H. KORN et al.,                              :
                                                    :
                        Plaintiffs,                 :
                                                    :
        v.                                          :      Civil Action No. 2:19-cv-00226-CMR
                                                    :
 CALIBER HOME LOANS, INC. et al.,                   :
                                                    :
                        Defendants.                 :
                                                    :

                          EXHIBIT A TO NOTICE OF SUBPOENA
                                 TO JOSEPH KRAUSE

                                          DEFINITIONS

       1.      “Bank of America” or “Bank of America Homes Loans” refers to the division of

Bank of America Corporation that acquired the residential home loans previously held by

Countrywide Mortgage.

       2.      “Caliber Home Loans” or “Caliber” refer to Defendant Caliber Home Loans, Inc.

and all predecessor organizations and assignors.

       3.      “Communication” or “communications” means any writing or any oral

conversation, of any kind or character, including, by way of example and without limitation,

personal conversations, telephone conversations, letters, meetings, memoranda, electronic

communications, electronic messages or transmittals of documents, and all notes or other

documents concerning such writing or such oral conversation. The term “electronic

communications” shall be construed in the broadest sense permitted and, in particular, includes

all forms of e-mail with all related attachments, and shall include all non-identical copies thereof,
         Case 2:19-cv-00226-CMR Document 30 Filed 02/10/20 Page 6 of 18




including all electronic communications sent through e-mail accounts. This further includes, but

is not limited to:

                a. Text messages, including but not limited to SMS messages;

                b. Online instant messaging services, including but not limited to Facebook

                     Messenger, Skype, Hangouts, Yahoo Messenger, Kik, Snapchat, WhatsApp,

                     Viber and any proprietary or internal messaging system utilized by a party;

                c. Social media posts, including but not limited to Facebook, Google+,

                     YouTube, Instagram, Twitter, LinkedIn, Tumblr and Reddit; and

                d. Any other online services or applications.

                e. This further includes every manner of transmitting or receiving facts,

                     information, opinions, thoughts, or images from one person to another person,

                     whether orally, including by voice recording (such as in a telephone voicemail

                     system), or in writing.

        4.      “Countrywide” refers to Countrywide Mortgage, which was acquired by Bank of

America Corporation.

        5.      The terms “document” or “documents”, as used herein, mean the original and all

copies of any written, printed, typed or other graphic matter of any kind or nature and any other

tangible thing in your possession, custody and/or control, wherever located including, but not

limited to, any and all writings, drawings, graphs, charts, photographs, electronic mail and other

data processing files and computer readable records, programs, and all other data compilations or

information stored electronically or digitally in any form from which information can be

obtained, transcribed and/or translated. Any copy containing thereon or having attached thereto

any alterations, notes, comments, or other material not included in the originals or copies



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referred to in the preceding sentence shall be deemed a separate document within the foregoing

definition. The term “documents” includes, but is not limited to:

               (a)    All contracts, agreements, letter agreements, representations, warranties,

                      certificates and opinions (whether written or oral);

               (b)    All letters or other forms of correspondence or communication, including

                      envelopes and notes, telegrams, cables, telex messages and other

                      messages, including reports, notes, notations and memoranda of or relating

                      to telephone conversations or conferences;

               (c)    All memoranda, reports, test results, financial statements or reports, notes,

                      scripts, transcripts, tabulations, studies, analyses, evaluations, projections,

                      work papers, corporate records or copies thereof, expressions or

                      statements of policy, lists, comparisons, questionnaires, surveys, charts,

                      graphs, summaries, extracts, statistical statements or records, publications,

                      compilations and opinions or reports of consultants;

               (d)    All electronically stored information, as defined below;

               (e)    All desk calendars, appointment books and diaries;

               (f)    All minutes, records or transcripts of meetings and conferences, and lists

                      of persons attending meetings or conferences;

               (g)    All reports and summaries of interviews and negotiations;

               (h)    All books, articles, press releases, magazines, newspapers, booklets,

                      brochures, pamphlets, circulars, bulletins, notices, instructions and

                      manuals;




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               (i)     All motion pictures and photographs (whether developed or undeveloped),

                       tape recordings, microfilms, phonographs, tapes (including without

                       limitation analog or digital audio or video tapes using 8mm, DVD, VHS,

                       standard cassette, or other recording formats) or other records, punch

                       cards, magnetic tapes, discs, data cells, print outs and other data

                       compilations from which information can be obtained; and

               (j)     Drafts of any document, revisions of drafts of any document and original

                       or preliminary notes.

       6.      The term “electronically stored information,” as used herein, means all files, data,

e-mails and attachments and any other information, which may be stored on hard drives, online

services, cloud drives, social media services, cell phones, servers, off-site data backups, magnetic

tapes (including without limitation computer or network back-up tapes and drives), data disks

(including without limitation floppy disks, hard disks, removable disks, thumb drives, SD cards,

compact discs, or DVDs), personal digital assistants, data cells, print-outs, and other data

compilations from which information can be obtained. This term shall encompass active,

archived and deleted e-mails, text messages and other electronically stored information or files.

       7.      “LSF9” refers to Defendant “LSF9 Master Participation Trust”.

       8.      “Ocwen” means Ocwen Financial Corporation.

       9.      The term “person,” as used herein, means any natural person, partnership,

corporation, LLC or other business entity and all present and former officers, directors, agents,

employees, attorneys and others acting or purporting to act on behalf of such natural person,

partnership, corporation or other business entity.

       10.     “Plaintiffs” shall refer to Scott H. Korn and Arlene A. Korn.



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       11.        The term “regarding” includes referring to, responding to, alluding to, concerning,

analyzing, reflecting, commenting on, relating, relating to, discussing, showing, describing,

reflecting, analyzing, constituting, including mentioning, comprising, bearing on, about, listing,

evidencing, in respect of, pertaining to, touching on, affecting, and/or having any logical or factual

connection, in whole or in part, directly or indirectly, with the subject matter within the paragraphs

of this Notice.

       12.        “Settlement Agreement” refers to the November 17, 2010 confidential settlement

agreement between Plaintiffs and Countrywide.

       13.        “You” and “Your” refer to Joseph Krause.

                                          INSTRUCTIONS

       1.         You are requested to produce all documents designated below which are in Your

possession, custody or control, or in the possession, custody or control of Your counsel or any

other person or entity acting or purporting to act in concert with You or on Your behalf, wherever

located.

       2.         In construing these Requests, You should give effect to the Definitions set forth

above. The Definitions apply whether or not the defined term is capitalized in the request.

Undefined words and terms should be given their common meaning. If You are unsure of the

definition of a particular word or term, You should use the definition that You believe to be the

most accurate and state that definition in Your response.

       3.         ESI should be produced in native form, with original metadata. Each production of

ESI should be accompanied by a metadata load file that contains links to the produced files via

“Native Link” data values, as well as the original file name, file path, and MD5 hash value for

each produced file. Each native file should be renamed with a Bates number and delivered



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sequentially without gaps. Any ESI that is not text searchable in native form should be rendered

with OCR software to produce searchable text. Any hard copy documents scanned or otherwise

converted to electronic form and produced in electronic form should be produced as single page

TIFF images with document-level (multipage) searchable text (.TXT) files, rendered with OCR

software. The source of the documents (e.g., hard copy, scanned documents) should be identified.

Load files for such productions should include document breaks which indicate the start and stop

of each Document, and sequential Bates numbering without gaps.

       4.      Each Document should be produced to include all attachments and enclosures

referred to in that Document or originally attached to or enclosed with that Document.

       5.      Should You withhold any documents or communications responsive to these

Requests, You are requested to state the basis for withholding the documents and communications

in a manner sufficient to enable Plaintiffs and the Court to evaluate the validity of Your

withholding of such materials, including in the case of any documents and communications

withheld on the grounds of privilege or work product, the following information for each document

or communication:

            a. The Request to which the document is responsive;

            b. The title of the document;

            c. The date appearing on the document, and if no date appears thereon, so state

               and give the date, or approximate date, on which the document was

               prepared;

            d. The type or general nature of the document (i.e., whether it is a letter,

               memorandum, minutes of a meeting, etc.);

            e. The name, title, and affiliation of each person who prepared or assisted in



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                 the preparation of the document;

            f. The name, title, and affiliation of each person who signed the document;

            g. The name, title, and affiliation of each person to whom the document was

                 disclosed, including the person or persons to whom it was addressed and

                 the person or persons to whom the document, or copies of the document,

                 were sent;

            h. The name, title, and affiliation of the person or persons who maintain

                 custody of the document; and

            i. The general subject matter of the document and the basis for withholding

                 the document, in a manner sufficient for Plaintiffs and the Court to

                 determine the validity of Your claim of privilege and/or work product.

       6.        If any document requested herein was formerly in Your possession, custody or

control and has been lost, destroyed or otherwise disposed of, You are directed to submit in lieu

of each such document a written statement: (a) describing in detail the nature of the document and

its contents; (b) identifying the person(s) who prepared or authored the documents and, if

applicable, the person(s) to whom the document was sent or shown; (c) specifying, if possible, the

date on which the document was lost or destroyed and, if destroyed, the conditions of and reason(s)

for such destruction and the person(s) requesting and performing the destruction, their employer(s)

and positions.

       7.        Your response to each Request shall be set forth separately in writing. If, after a

good faith, diligent search for the documents requested herein, You conclude that there never have

been any documents in existence responsive to a particular Request, so state.

       8.        These Requests are deemed to be continuing in nature so as to require prompt



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supplemental responses if You obtain or discover additional documents or information between

the time of Your initial response to these Requests and the time of trial.

       9.       Unless otherwise indicated, the time period covered by these Requests is from

January 1, 2010, through the present.

                                        INSTRUCTIONS

       1.       You are requested to produce all documents designated below which are in Your

possession, custody or control, or in the possession, custody or control of Your counsel or any

other person or entity acting or purporting to act in concert with You or on Your behalf, wherever

located.

       2.       In construing these Requests, You should give effect to the Definitions set forth

above. The Definitions apply whether or not the defined term is capitalized in the request.

Undefined words and terms should be given their common meaning. If You are unsure of the

definition of a particular word or term, You should use the definition that You believe to be the

most accurate and state that definition in Your response.

       3.       ESI should be produced in native form, with original metadata. Each production of

ESI should be accompanied by a metadata load file that contains links to the produced files via

“Native Link” data values, as well as the original file name, file path, and MD5 hash value for

each produced file. Each native file should be renamed with a Bates number and delivered

sequentially without gaps. Any ESI that is not text searchable in native form should be rendered

with OCR software to produce searchable text. Any hard copy documents scanned or otherwise

converted to electronic form and produced in electronic form should be produced as single page

TIFF images with document-level (multipage) searchable text (.TXT) files, rendered with OCR

software. The source of the documents (e.g., hard copy, scanned documents) should be identified.



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Load files for such productions should include document breaks which indicate the start and stop

of each Document, and sequential Bates numbering without gaps.

       4.      Each Document should be produced to include all attachments and enclosures

referred to in that Document or originally attached to or enclosed with that Document.

       5.      Should You withhold any documents or communications responsive to these

Requests, You are requested to state the basis for withholding the documents and communications

in a manner sufficient to enable Plaintiffs and the Court to evaluate the validity of Your

withholding of such materials, including in the case of any documents and communications

withheld on the grounds of privilege or work product, the following information for each document

or communication:

            a. The Request to which the document is responsive;

            b. The title of the document;

            c. The date appearing on the document, and if no date appears thereon, so state

               and give the date, or approximate date, on which the document was

               prepared;

            d. The type or general nature of the document (i.e., whether it is a letter,

               memorandum, minutes of a meeting, etc.);

            e. The name, title, and affiliation of each person who prepared or assisted in

               the preparation of the document;

            f. The name, title, and affiliation of each person who signed the document;

            g. The name, title, and affiliation of each person to whom the document was

               disclosed, including the person or persons to whom it was addressed and

               the person or persons to whom the document, or copies of the document,



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                 were sent;

            h. The name, title, and affiliation of the person or persons who maintain

                 custody of the document; and

            i. The general subject matter of the document and the basis for withholding

                 the document, in a manner sufficient for Plaintiffs and the Court to

                 determine the validity of Your claim of privilege and/or work product.

       6.        If any document requested herein was formerly in Your possession, custody or

control and has been lost, destroyed or otherwise disposed of, You are directed to submit in lieu

of each such document a written statement: (a) describing in detail the nature of the document and

its contents; (b) identifying the person(s) who prepared or authored the documents and, if

applicable, the person(s) to whom the document was sent or shown; (c) specifying, if possible, the

date on which the document was lost or destroyed and, if destroyed, the conditions of and reason(s)

for such destruction and the person(s) requesting and performing the destruction, their employer(s)

and positions.

       7.        Your response to each Request shall be set forth separately in writing. If, after a

good faith, diligent search for the documents requested herein, You conclude that there never have

been any documents in existence responsive to a particular Request, so state.

       8.        These Requests are deemed to be continuing in nature so as to require prompt

supplemental responses if You obtain or discover additional documents or information between

the time of Your initial response to these Requests and the time of trial.

       9.        Unless otherwise indicated, the time period covered by these Requests is from

January 1, 2010, through the present.




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                                    DOCUMENT REQUESTS

         1.       All documents within Your possession relating to the relationship between Caliber

and Plaintiffs.

         2.       All documents within Your possession relating to the relationships between and

among Caliber, on the one hand, and Bank of America, Countrywide, Ocwen, and/or LSF9.

         3.       All documents within Your possession relating to the relationship between Caliber

and Elite Premier Properties/Elite REO Services (including appraiser Gerard Maddrey).

         4.       All communications between Caliber and Elite Premier Properties/Elite REO

Services (including those with appraiser Gerard Maddrey) regarding the subject matter of this

litigation, including all communications regarding the appraisals conducted for Scott and Arlene

Korn and regarding the number of jobs that Caliber has referred to Elite REO/Gerard Maddrey

both before and after the appraisals that were conducted for Scott and Arlene Korn.

         5.       All appraisal reports and documents for any and all appraisals conducted, on

Caliber’s behalf, for the property located at 1233 Meadowbank Road, Villanova, Pennsylvania

19085.

         6.       All communications between You, in the capacity of your employment with

Caliber, on the one hand, and Plaintiffs, Plaintiffs’ former counsel David Lightman, Esquire, or

any other attorney or person on behalf of Plaintiffs.

         7.       All communications between You, in the capacity of your employment with

Caliber, and Clear Capital Vendor Support regarding Plaintiffs, any and all appraisals for the

property located at 1233 Meadowbank Road, Villanova, Pennsylvania 19085, and/or the subject

matter of this litigation.

         8.       All communications relating to any and all requests made by any person to modify



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any appraisal value(s)/report(s) for the property located at 1233 Meadowbank Road, Villanova,

Pennsylvania 19085.

        9.      All documents relating to any and all modifications of appraised value(s)/report(s)

for the property located at 1233 Meadowbank Road, Villanova, Pennsylvania 19085.

        10.     All documents within Your possession related to the property located at 1233

Meadowbank Road, Villanova, Pennsylvania 19085.

        11.     All communications between You and LSF9 Master Participation Trust regarding

the subject matter of this litigation.

        12.     All communications between You and Ocwen regarding the subject matter of this

litigation.

        13.     All communications between You and Bank of America regarding the subject

matter of this litigation.

        14.     All documents and communications within Your possession regarding Caliber’s

appraiser selection process and how Caliber came to have retained Elite Premier Properties/Elite

REO Services (including appraiser Gerard Maddrey).

        15.     All documents within Your possession, in the capacity of your employment with

Caliber, about other appraisers of residential real estate located within the Villanova, Pennsylvania

geographic area.

        16.     All documents regarding Caliber’s policies and procedures for complying with

applicable state and federal laws which govern your industry.

        17.     All documents regarding Your qualifications and professional experience.

        18.     All documents within Your possession regarding the terms of the Settlement

Agreement between Plaintiffs and Countrywide, entered into on November 17, 2010, and Caliber



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Home Loan’s performance under the Settlement Agreement.

        19.     All documents within Your possession regarding Caliber Home Loan’s policies and

procedures relating to ensuring compliance with settlement agreements reached between

borrowers and predecessor organizations.

        20.     Caliber’s Document storage, retention, and destruction policies, procedures and

practices in place from November 1, 2010, to the present.

        21.     Caliber’s efforts to preserve Documents relevant, or potentially relevant, to the

claims or defenses asserted in this litigation, including, but not limited to, hard copies, electronic

communications, and other electronically stored information.

        22.     Caliber’s efforts to gather and turn over all Documents, electronically stored

information, files, records, and other written materials either (i) produced by You/Caliber in

connection with this Litigation or (ii) requested by Plaintiffs in this litigation.

        23.     As not otherwise set forth above, the subject matter of Plaintiffs’ Complaint in this

matter and Defendants’ Answers with affirmative defenses thereto.

                                                        MITTS LAW, LLC

Dated: February 10, 2020                                /s/ Maurice R. Mitts
                                                        Maurice R. Mitts, Esquire
                                                        Attorney I.D. No. 50297
                                                        Michael J. Duffy, Esquire
                                                        Attorney I.D. No. 312459
                                                        1822 Spruce Street
                                                        Philadelphia, PA 19103
                                                        (215) 866-0112 (telephone)
                                                        (215) 866-0113 (facsimile)
                                                        Attorneys for Plaintiffs




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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                  :
 SCOTT H. KORN et al.,                            :
                                                  :
                       Plaintiffs,                :
                                                  :
        v.                                        :       Civil Action No. 2:19-cv-00226-CMR
                                                  :
 CALIBER HOME LOANS, INC. et al.,                 :
                                                  :
                       Defendants.                :
                                                  :

                                CERTIFICATE OF SERVICE

       I, Maurice R. Mitts, Esquire, hereby certify that on February 10, 2020, I served a copy of

the foregoing Notice of Subpoena with Exhibit A on Defendants Caliber Home Loans, Inc. and

LSF9 upon the following counsel of record for Defendants via the Court’s electronic filing system

as set forth below:

                                       Robert C. Folland
                                   Barnes & Thornburg LLP
                                41 South High Street, Suite 3300
                                     Columbus, OH 43215
                                    Rob.Folland@btlaw.com
                                    Attorney for Defendants


                                                      /s/ Maurice R. Mitts
                                                      Maurice R. Mitts, Esquire
